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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Alan I. Nahmias (SBN 125140)
 Michael E. Bubman (SBN 143468)
 MIRMAN, BUBMAN & NAHMIAS                                                                                FILED & ENTERED
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 mbubman.@mbn.law                                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY Pgarcia DEPUTY CLERK




      Individual appearing without attorney
      Attorney for Movant

                                       UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA -SAN FERNANDO VALLEY DIVISION

 In re:                                                                      CASE NO.: 1:24-bk-11736-MB

 KAREN KHACHERYAN                                                            CHAPTER: 7

                                                                               ORDER ON MOTION IN INDIVIDUAL CASE
                                                                               FOR ORDER CONFIRMING TERMINATION
                                                                                 OF STAY WITH RESPECT TO DEBTOR
                                                                              [11 U.S.C. § 362(c)(3)] OR THAT NO STAY IS
                                                                                 IN EFFECT [11 U.S.C. § 362(c)(4)(A)(ii)]

                                                                             DATE:      January 7, 2025
                                                                             TIME:      10:00 a.m.
                                                                             COURTROOM: 303
                                                                             PLACE:     21041 Burbank Boulevard
                                                                                        Woodland Hills, CA 91367
                                                              Debtor(s).

 Movant (name):                 PENNYMAC LOAN SERVICING, LLC



1. The Motion was:                    Opposed                     Unopposed

2.         The motion is denied:                without prejudice                with prejudice            on the following grounds:

     a.        Based upon the findings and conclusions set forth on the record at the hearing
     b.        Unexcused non-appearance by Movant
     c.        Lack of proper service
     d.        Lack of cause
     e.        Other (specify):


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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3.         The motion is GRANTED on ONE of the following grounds (select one):
           a.       Pursuant to 11 U.S.C. § 362(c)(3), a single or joint case filed by or against the Debtor was pending but
                    dismissed within the year ending on the petition date of this case, the dismissed case was not a case
                    refiled under a chapter other than chapter 7 following dismissal under 11 U.S.C. § 707(b), and 30 days
                    have elapsed since the filing of the petition in the above-entitled case and no order has been entered
                    continuing the stay; or

           b.       Pursuant to 11 U.S.C. § 362(c)(4)(A)(ii), two or more single or joint cases filed by or against the Debtor
                    were pending but dismissed within the year ending on the petition date of this case and none of the
                    dismissed cases was refiled under a chapter other than chapter 7 after dismissal under 11 U.S.C.
                    § 707(b).

4.         Based upon the motion being granted, this order CONFIRMS that (select one):
           a.       Under 11 U.S.C. § 362(c)(3) the automatic stay has been terminated with respect to the Debtor; or

           b.       Under 11 U.S.C. § 362(c)(4)(A)(ii) no stay was ever in effect in this case.

5.         The motion is settled by stipulation. A stipulation containing all required signatures has been filed separately.
           a.       The stipulation is APPROVED and its operative terms are ORDERED by the court; or

           b.       The stipulation is NOT APPROVED.

6.         Additional provisions (if any):
           a.       See attached continuation page; or
           b.       Insert provisions here:

           This Order is based upon the findings and conclusions made by the Court at the hearing on the Motion.

           As provided by 11 U.S.C. Section 362(j), the automatic stay was terminated in all respects in this case on
           November 15, 2024, as to both the Debtor and property of the Estate, and was no longer in effect at the time
           Pennymac conducted its foreclosure sale on the real property located at 6537 Columbus Avenue, Van Nuys, CA
           91411.
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                  Date: January 22, 2025




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